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 8                             UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11   MICHAEL FLETCHER,                  )     NO. CV 21-5257-JWH(E)
                                        )
12               Plaintiff,             )
                                        )
13         v.                           )     ORDER ACCEPTING FINDINGS,
                                        )
14   LOS ANGELES COUNTY CHILD           )     CONCLUSIONS AND RECOMMENDATIONS
     SUPPORT SERVICES DEPT.,            )
15   et al.,                            )     OF UNITED STATES MAGISTRATE JUDGE
                                        )
16               Defendants.            )
                                        )
17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

19   Third Amended Complaint, all of the records herein and the attached

20   Report and Recommendation of United States Magistrate Judge.            Further,

21   the Court has engaged in a de novo review of those portions of the

22   Report and Recommendation to which any objections have been made.               The

23   Court accepts and adopts the Magistrate Judge’s Report and

24   Recommendation.

25

26         IT IS ORDERED that this action is remanded to the Los Angeles

27   County Superior Court.

28   ///
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 1         IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 2   this Order on Plaintiff and counsel for Defendants.

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 4               DATED: October 7, 2021.

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                                                      JOHN W. HOLCOMB
 8                                             UNITED STATES DISTRICT JUDGE

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